                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


 FAYETTEVILLE PUBLIC LIBRARY, a political
 subdivision in the City of Fayetteville, State of
 Arkansas; et al.
                                                                                      PLAINTIFFS


 v.                                   NO. 5:23-CV-05086


 RAWFORD COUNTY, ARKANSAS; et al.
                                                                                   DEFENDANTS


                         DECLARATION OF MARY E. RASENBERGER
      I, Mary E. Rasenberger, pursuant to 28 U.S.C.§ 1746, do declare:

      1. I am the Chief Executive Officer of the Authors Guild, Inc. (“Guild”), a plaintiff in this

action. I have held this position since 2021; before that, I held the position of Executive Director

starting in 2014, when I joined the Guild. I make this declaration in support of plaintiffs’ motion

for summary judgment.

      2. The Guild’s predecessor organization, the Authors League of America, was founded in

1912. The Guild is a national non-profit association of more than 14,500 professional, published

writers of all genres, 32 of whom are located in Arkansas. The Guild counts historians,

biographers, academicians, journalists, and other writers of non-fiction and fiction as members.

      3. The Guild works to promote the rights and professional interest of authors in various areas,

including copyright, freedom of expression, and taxation. Many Guild members earn their

livelihoods through their writing. Their work covers important issues in history, biography,

science, politics, medicine, business, and other areas; they are frequent contributors to the most

influential and well-respected publications in every field.


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    4. The ability to write on topics of their choosing and to have their work available through

bookstores and libraries is vital to their ability to make a living in their chosen profession.

    5. Section 1 of Act 372 of 2023 (“Act 372”) prohibits making books that are deemed “harmful

to minors” available to minors, forcing this large quantity of constitutionally protected materials

to be separated, and not displayed. As a practical matter, this would also result in libraries and

bookstores limiting the access adults have to these books, meaning they will refrain from

displaying them or even carrying them . Many libraries and bookstores do not have room to provide

for a separate space for “adults only” materials; moreover, putting the materials in a separate area

could stigmatize them and draw attention to adults wishing to access them, thus discouraging them

from accessing, buying and reading these materials. Section 5 of Act 372 requires that libraries

establish a process for challenging the appropriateness of a book’s inclusion in the main collection

of the library.

    6. The Guild and its Arkansas members fear that Act 372 will restrict the ability of authors

to sell, and thus write, books about their chosen topics, and will chill free speech as it will force

authors to self-censor their writing. Guild members do not know which books would cross the

vague line under Section 1, nor which books will be challenged under Section 5. Books could be

categorized as “harmful to minors” even if they are appropriate for older minors, placed in a

separate “adult section,” making access to them difficult, or not available at all. Either way, it will

diminish authors’ readership and the ability to earn income from their books.

    7. As of the Authors Guild’s last author earning survey in 2022, Authors earned a median of

only    $20,000    from    their   writing,   and    only   half    of   that   from    their     books.

https://authorsguild.org/news/key-takeaways-from-2023-author-income-survey/. The loss of sales

in Arkansas could force them out of writing altogether.




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I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 10th day of May, 2024.

                                              /s/ Mary E. Rasenberger
                                              Mary E. Rasenberger




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